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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )            8:12CR107
                     Plaintiff,          )
                                         )
       vs.                               )
                                         )
TAMMY L. SCHUCK,                         )
TABATHA N. ASHBURN and                   )
CHRISTOPHER J. TIERNEY,                  )
                                         )
                     Defendants.         )
________________________________                        ORDER

UNITED STATES OF AMERICA,                )
                                         )            8:12CR108
                     Plaintiff,          )
                                         )
       vs.                               )
                                         )
WILLIAM R. KNOX,                         )
                                         )
                     Defendant.          )

       This matter is before the court on the oral motion of the government and the
defendants for a continuance of the Rule 17.1 conference to a time following the resolution
of various pending motions in case number 8:12CR107. The request was made during a
Rule 17.1 conference on September 5, 2012. The motion will be granted.


       IT IS ORDERED:
       1.     The motion for a continuance of the Rule 17.1 conference is granted. A Rule
17.1 conference will be held in Courtroom No. 7, Second Floor, Roman L, Hruska U.S.
Courthouse, Omaha, Nebraska, at 2:00 p.m. on November 16, 2012. Only counsel need
attend.
       2.     An evidentiary hearing on all pending motions in case number 8:12CR107
will be held in Courtroom No. 7, Second Floor, Roman L, Hruska U.S. Courthouse, Omaha,
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Nebraska, commencing at 1:30 p.m. on September 21, 2012. Defendants in case
number 8:12CR107 must be in attendance unless previously excused by the court.
       3.     The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendants in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., from September 5, 2012, through
November 16, 2012, shall be deemed excludable time in any computation of time under
the requirement of the Speedy Trial Act for the reason all counsel require additional time
to adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 5th day of September, 2012.
                                                  BY THE COURT:

                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge




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